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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA,

                       Respondent,


v.                                                   CRIMINAL ACTION NO. 3:02-00069-13
                                                     (CIVIL ACTION NO. 3:04-0728)
CHARLES TAPSCOTT,
    also known as “J”,

                       Movant.



                                             ORDER


       This action was referred to the Honorable Maurice G. Taylor, Jr., United States Magistrate

Judge, for submission to this Court of proposed findings of fact and recommendation for

disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of

fact and recommended that the Court find that the motion filed by Mr. Tapscott is untimely by

reason of the applicable statute of limitation and that the relief sought in this § 2255 be denied.

Neither party has filed objections to the Magistrate Judge’s findings and recommendation.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and finds that the motion filed by Mr. Tapscott is untimely by reason of the

applicable statute of limitation and DENIES the relief sought in this § 2255, consistent with the

findings and recommendation.
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       The Court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Taylor, counsel of record, and any unrepresented parties.


                                            ENTER:          October 4, 2006




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE




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